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 UNITED STATES BANKRUPTCY COURT
 FOR THE DISTRICT OF NEW JERSEY
 ____________________________________
 Caption in compliance with D.N.J. LBR 9004-1                                  Order Filed on March 13, 2020
                                                                               by Clerk,
                                                                               U.S. Bankruptcy Court
 AKERMAN LLP
                                                                               District of New Jersey
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 Tampa, FL 33602
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 Counsel Sony Electronics Inc.
 Attorney Appearing: Steven R. Wirth, Esq.
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 In re:                                                      Chapter 11

 FRANK THEATERS BAYONNE/SOUTH                                Case No. 18-34808 (SML) (SLM)
 COVE, LLC. et al.,1
                                                             (Jointly Administered)
                  Debtors.

     ORDER GRANTING AMENDED MOTION TO ENFORCE STIPULATION AND TO
            COMPEL SOUTH COVE DEVELOPMENT LLC TO PROVIDE
        ACCESS TO SONY ELECTRONICS INC. TO RETRIEVE ITS PROPERTY

          The relief set forth on the following pages, numbered two (2) through four (4) is

 ORDERED.




DATED: March 13, 2020



 1
   The Debtors in these chapter 11 cases and the last four digits of each Debtor’s taxpayer identification number are
 as follows: Frank Theatres Bayonne/South Cove, LLC (3162); Frank Entertainment Group, LLC (3966); Frank
 Management LLC (0186); Frank Theatres, LLC (5542); Frank All Star Theatres, LLC (0420); Frank Theatres
 Blacksburg LLC (2964); Frank Theatres Delray, LLC (7655); Frank Theatres Kingsport LLC (5083); Frank
 Theatres Montgomeryville, LLC (0692); Frank Theatres Parkside Town Commons LLC (9724); Frank Theatres Rio,
 LLC (1591); Frank Theatres Towne, LLC (1528); Frank Theatres York, LLC (7779); Frank Theatres Mt. Airy, LLC
 (7429); Frank Theatres Southern Pines, LLC (2508); Frank Theatres Sanford, LLC (7475); Frank Theatres Shallotte,
 LLC (7548); Revolutions at City Place LLC (6048); Revolutions of Saucon Valley LLC (1135); Frank
 Entertainment Rock Hill LLC (0753); Frank Entertainment PSL, LLC (7033); Frank Hospitality Saucon Valley LLC
 (8570); Frank Hospitality York LLC (6617); and Galleria Cinema, LLC (2529).



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              The Court having reviewed the movant's Amended Motion to Enforce Stipulation and to

 Compel South Cove Development LLC to Provide Access to Sony Electronics Inc. to Retrieve

 its Property, and any related responses or objections, it is hereby

 ORDERED that:


          1.        The Motion is granted.
                                         ^as set forth herein.
          2.        The Landlord shall provide Sony access to the premises so that Sony may retrieve

 the Sony Equipment.

          3.        This Court reserves jurisdiction to determine and award Sony damages to the

 extent any Sony Equipment is missing or damaged.

          4.        This Court reserves jurisdiction to determine and award attorney's fees and costs

 on behalf of Sony and against the Landlord.




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